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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          2:19-cv-04237-SVW-PJW                                         Date   August 12, 2019
 Title             Nano Foundation, Ltd., et al v. David C. Silver




 Present: The Honorable           STEPHEN V. WILSON, U.S. DISTRICT JUDGE
                 Paul M. Cruz                            Anne Kielwasser
                 Deputy Clerk                        Court Reporter / Recorder                 Tape No.
                Attorneys Present for Plaintiffs:                    Attorneys Present for Defendants:
                        Ryan M. Lapine                                         Jason Seibert
                                                                                Lisa Foutch
 Proceedings:                 [15]Motion to Dismiss Complaint filed by Defendant;
                              [17] MOTION to Strike Complaint Pursuant to Cal. Code Civil Proc. § 425.16
                              Complaint filed by Attorney for Defendant;
                              [18] MOTION for Sanctions Pursuant to Federal Rule of Civil Procedure 11
                              Against: (1) Plaintiffs Nano Foundation, LTD. and Colin LeMahieu and (2)
                              Ryan M. Lapine, Esq., Joshua H. Herr, Esq., and Pierce, Rosenfed, Meyer &
                              Sussman, LLP filed by Attorney for Defendant


         Hearing held. The motions are submitted. Order to issue.




                                                                                                 :       28
                                                               Initials of Preparer            PMC
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